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       Exhibit 34
   (Filed Under Seal)
                                                                             In the Matter Of:
                                                                                In re EpiPen
                                                                                 Marketing




                                                                             Harry Jordan
                                                                            October 26, 2018
                                                                         HIGHLY CONFIDENTIAL




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25   Q. What did you know about EpiPen when you first

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 1    started at Mylan in April 2011?
 2   A. I had heard of it before, but I had no idea how
 3    it worked or what it was used for.
 4   Q. Who were the competitors of EpiPen at that
 5    time?
 6   A. I think there was Adrenaclick and Twinject were
 7    the two products.
 8   Q. What did you know about those products?
 9   A. That they were epinephrine, that's it.
10   Q. What market did EpiPen compete in?
11       MS. DELONE: Object to form.
12       THE WITNESS: As far as allergy market? Is
13    that what you are asking?
14   Q. BY MR. WHITE: Was it the epinephrine
15    auto-injector market?
16       MS. DELONE: Object to form.
17       THE WITNESS: Correct.




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                                                  2       MR. WHITE: Put that one aside.
                                                  3       (Deposition Exhibit 14 was marked for
                                                  4    identification.)
                                                  5       MR. WHITE: Can we go off the record just very
                                                  6    quick?
                                                  7       THE VIDEOGRAPHER: Going off the record. The
                                                  8    time is 11:58 a.m.
                                                  9       (Recess taken.)
                                                 10       THE VIDEOGRAPHER: We're back on the record.
                                                 11    The time is 11:58 a.m.
                                                 12   Q. BY MR. WHITE: Mr. Jordan, you've been handed a
                                                 13   document marked Exhibit 14. This is a November 4, 2013,
                                                 14   email from you to a number of people at Mylan with the
                                                 15    subject "Humana win for 2014." Is that right?
                                                 16   A. Yes.
                                                 17   Q. Did you send this email in the ordinary course
                                                 18    of your business as a Mylan employee?
                                                 19   A. I did.
                                                 20   Q. In this email you write, "Hello, RDs. I'm
                                                 21   pleased to announce that Humana Healthcare Company has
                                                 22    agreed to continue to keep EpiPen and EpiPen, Jr. as
                                                 23   their preferred branded product for both their commercial
                                                 24    and Medicare Part D formularies for 2014. For the
                                                 25   commercial formulary, they will be removing Auvi-Q off

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                                                  1    their preferred tier and making the product
                                                  2   non-preferred. For their Medicare Part D formulary, they
                                                  3   will continue to block members, where legal, from Auvi-Q.
                                                  4   Humana covers prescription services for over 4 million
                                                  5   commercial members and over 3 million Medicare Part D
                                                  6    members." Do you see that?
                                                  7   A. I do.
                                                  8   Q. What are RDs?
                                                  9   A. Regional directors.
                                                 10   Q. What is the role of regional directors?
                                                 11   A. They oversee the specific region across the US
                                                 12    for sales.
                                                 13   Q. Is this RD team, is this just an RD team for
                                                 14    EpiPen or do they cover other drugs?
                                                 15   A. They cover EpiPen and PERFOROMIST.
                                                 16   Q. Why did you send this email?
                                                 17   A. This is a typical pullthrough email, when you
                                                 18    get a formulary agreement in place, to announce the
                                                 19    agreement, so you can pull through -- pull through that
                                                 20    formulary win.
                                                 21   Q. The subject is "Humana Win for 2014." So you
                                                 22   considered your negotiations with Humana successful; is
                                                 23    that right?
                                                 24   A. Yes.
                                                 25   Q. Was it a win that Humana removed Auvi-Q from

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